      Case 24-03431-5-PWM                      Doc 57 Filed 10/15/24 Entered 10/15/24 19:36:23                                  Page 1 of 36




Fill in this information to identify the case:

Debtor name         Grand Valley MHP, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)     24-03431
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       October 14, 2024                X
                                                             Signature of individual signing on behalf of debtor

                                                             Neil Carmichael Bender, II
                                                             Printed name

                                                             Manager
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
     Case 24-03431-5-PWM                                         Doc 57 Filed 10/15/24 Entered 10/15/24 19:36:23                                                                      Page 2 of 36

Fill in this information to identify the case:

Debtor name           Grand Valley MHP, LLC

United States Bankruptcy Court for the:                      EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)              24-03431
                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                      amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                   $      19,820,000.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                      $       3,323,322.50

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                     $      23,143,322.50


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      48,395,022.57


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $         144,047.66

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$         127,131.29


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                            $        48,666,201.52




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
      Case 24-03431-5-PWM                     Doc 57 Filed 10/15/24 Entered 10/15/24 19:36:23                              Page 3 of 36

Fill in this information to identify the case:

Debtor name      Grand Valley MHP, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)       24-03431
                                                                                                                        Check if this is an
                                                                                                                           amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                           debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    Yes Fill in the information below.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

    No. Go to Part 4.
    Yes Fill in the information below.
11.       Accounts receivable
          11a. 90 days old or less:                     64,456.02      -                                 0.00 = ....                  $64,456.02
                                        face amount                         doubtful or uncollectible accounts



          11a. 90 days old or less:                     29,033.96      -                                 0.00 = ....                  $29,033.96
                                        face amount                         doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                         $93,489.98
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

    No. Go to Part 5.
Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                         page 1
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Debtor       Grand Valley MHP, LLC                                                       Case number (If known) 24-03431
             Name


    Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.

Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and             Net book value of             Valuation method used   Current value of
          property                              extent of              debtor's interest             for current value       debtor's interest
          Include street address or other       debtor's interest      (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1.
                  18 Bone Valley Dr,
                  Springfield, IL 62702         Fee Simple                  $15,660,360.48           Income Approach               $19,820,000.00




56.       Total of Part 9.                                                                                                       $19,820,000.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
           No
           Yes
58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                              page 2
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Debtor        Grand Valley MHP, LLC                                                        Case number (If known) 24-03431
              Name


            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of          Valuation method used     Current value of
                                                                        debtor's interest          for current value         debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property
           Acquisition and Closing Costs                                           $1,683.31       Historical Costs                     $1,683.31



65.        Goodwill

66.        Total of Part 10.                                                                                                          $1,683.31
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 3
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Debtor      Grand Valley MHP, LLC                                                   Case number (If known) 24-03431
            Name



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

         Intercompany Receivables                                                                                          $3,228,149.21




78.      Total of Part 11.                                                                                               $3,228,149.21
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                               page 4
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Debtor          Grand Valley MHP, LLC                                                                               Case number (If known) 24-03431
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $93,489.98

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                     $19,820,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                    $1,683.31

90. All other assets. Copy line 78, Part 11.                                                    +              $3,228,149.21

91. Total. Add lines 80 through 90 for each column                                                         $3,323,322.50            + 91b.           $19,820,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $23,143,322.50




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 5
       Case 24-03431-5-PWM                            Doc 57 Filed 10/15/24 Entered 10/15/24 19:36:23                                      Page 8 of 36

Fill in this information to identify the case:

Debtor name          Grand Valley MHP, LLC

United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)              24-03431
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    21st Mortgage Corporation                    Describe debtor's property that is subject to a lien              $4,381,617.70                 Unknown
       Creditor's Name
       Attn: Ann Wilkins
       620 Market Street, Suite
       100
       Knoxville, TN 37902
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



       M&T Realty Capital
2.2                                                                                                                 $22,500,000.00                  Unknown
       Corporation                                  Describe debtor's property that is subject to a lien
       Creditor's Name
       Attn: Wendy LeBlanc, VP
       One Light Street, 12th Floor
       Baltimore, MD 21201
       Creditor's mailing address                   Describe the lien
                                                    Bridge Loan / UCC
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 3
       Case 24-03431-5-PWM                          Doc 57 Filed 10/15/24 Entered 10/15/24 19:36:23                                        Page 9 of 36

Debtor       Grand Valley MHP, LLC                                                                 Case number (if known)       24-03431
             Name

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



       Northpoint Commercial
2.3                                                                                                                      $21,513,404.87              Unknown
       Finance - TOC                               Describe debtor's property that is subject to a lien
       Creditor's Name

       PO Box 731751
       Dallas, TX 75373-1751
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.




                                                                                                                            $48,395,022.
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      57

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        21st Mortgage Corporation
        PO Box 220                                                                                          Line   2.1
        Knoxville, TN 37901

        21st Mortgage Corporation
        Attn: Lisa Sumner                                                                                   Line   2.1
        4141 Parklake Ave, Suite 200
        Raleigh, NC 27612-2333

        Northpoint Commercial Finance, LLC
        251 Little Falls Drive                                                                              Line   2.3
        Wilmington, DE 19808

        Northpoint Commercial Finance, LLC
        c/o Bradley, Attn: James Bailey                                                                     Line   2.3
        1819 Fifth Avenue North
        Birmingham, AL 35203-2120




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
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                                                       36
Debtor    Grand Valley MHP, LLC                                            Case number (if known)   24-03431
          Name

      Northpoint Commercial Finance, LLC
      PO Box 1445                                                                  Line   2.3
      Alpharetta, GA 30009-1445




Official Form 206D      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                  page 3 of 3
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Fill in this information to identify the case:

Debtor name        Grand Valley MHP, LLC

United States Bankruptcy Court for the:         EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)          24-03431
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown          Unknown
          Florida Department of Revenue                       Check all that apply.
          P.O. Box 6668                                        Contingent
          Tallahassee, FL 32314-6668                           Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              For Information Purposes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown          Unknown
          Illinois Department of Labor                        Check all that apply.
          524 S. 2nd Street, Suite 400                         Contingent
          Springfield, IL 62701                                Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              For Information Purposes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 14
                                                                                                              40549
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                                                                      36
Debtor      Grand Valley MHP, LLC                                                                     Case number (if known)   24-03431
            Name

2.3       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     Unknown
          Internal Revenue Service                           Check all that apply.
          P.O. Box 7346                                       Contingent
          Philadelphia, PA 19114                              Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             For Information Purposes
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.4       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     Unknown
          Office of Attorney General                         Check all that apply.
          State of Florida                                    Contingent
          The Capitol PL-01                                   Unliquidated
          Tallahassee, FL 32399-1050                          Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             For Information Purposes
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.5       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $144,047.66   $144,047.66
          Sangamon County Tax Collector                      Check all that apply.
          200 S 9th Street, Room 303                          Contingent
          Springfield, IL 62701                               Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             Taxes
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.6       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     Unknown
          SEC Headquarters                                   Check all that apply.
          100 F Street, NE                                    Contingent
          Washington, DC 20549                                Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             For Information Purposes
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 14
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                                                                      36
Debtor       Grand Valley MHP, LLC                                                                      Case number (if known)          24-03431
             Name

2.7       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown   Unknown
          Securities and Exchange                              Check all that apply.
          Commission                                            Contingent
          801 Brickell Ave., Suite 1800                         Unliquidated
          Miami, FL 33131                                       Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               For Information Purposes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes

2.8       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown   Unknown
          United States Attorney General's                     Check all that apply.
          Office                                                Contingent
          US Department of Justice                              Unliquidated
          950 Pennsylvania Avenue                               Disputed
          Washington, DC 20530-0001
          Date or dates debt was incurred                      Basis for the claim:
                                                               For Information Purposes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes

2.9       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown   Unknown
          US Attorney Southern District of                     Check all that apply.
          Florida                                               Contingent
          500 South Australian Avenue                           Unliquidated
          Suite 400                                             Disputed
          West Palm Beach, FL 33401
          Date or dates debt was incurred                      Basis for the claim:
                                                               For Information Purposes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          21st Communities, Inc.                                              Contingent
          Attn: Manager                                                       Unliquidated
          PO Box 220                                                          Disputed
          Knoxville, TN 37901-0220
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Alan Thompson                                                       Contingent
          Attn: Manager, Officer, Agent                                       Unliquidated
          401 E. 11th Street                                                  Disputed
          Lumberton, NC 28358-4807
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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            Name


3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $478.93
         Ameren Illinois                                            Contingent
         PO Box 88034                                               Unliquidated
         Chicago, IL 60680-1034                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Gas and propane
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Austin Shapiro                                             Contingent
         31550 Northwestern Hwy, Suite 220                          Unliquidated
         Farmington, MI 48334                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Only - Receiver
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Blake Y. Boyette                                           Contingent
         Buckmiller, Boyette & Frost, PLLC                          Unliquidated
         4700 Six Forks Road, Suite 150                             Disputed
         Raleigh, NC 27609-5288
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Brendan A. Potts                                           Contingent
         2400 Catalina Lane                                         Unliquidated
         Springfield, IL 62702-1105                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Brittany Court MHP, LLC                                    Contingent
         1030 N. Grand Ave West                                     Unliquidated
         East Bldg                                                  Disputed
         Springfield, IL 62702-4040
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Brown Investment Properties, Inc.                          Contingent
         PO Box 930                                                 Unliquidated
         Greensboro, NC 27402                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Only - Receiver
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Buckmiller, Boyette & Frost, PLLC                          Contingent
         4700 Six Forks Road, Suite 150                             Unliquidated
         Raleigh, NC 27609-5288                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Bullock MHP, LLC                                           Contingent
         401 E. Las Olas Blvd, Ste 130-161                          Unliquidated
         Fort Lauderdale, FL 33301                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Cadillac Ranch MHC, LLC                                    Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Cape Fear MHC, LLC                                         Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11st Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Cedarbrook Estates MHP, LLC                                Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         1030 N. Grand Ave West, East Bldg                          Disputed
         Springfield, IL 62702-4040
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         CHC TN LLC                                                 Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         520 W. Summit Hill Drive, Suite 801                        Disputed
         Knoxville, TN 37902-2006
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         City of Lumberton                                          Contingent
         Attn: Manager                                              Unliquidated
         500 N. Cedar Street                                        Disputed
         Lumberton, NC 28358-5545
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Clayton Homes - Tru White Pine                             Contingent
         Attn: Manager                                              Unliquidated
         2215 Walnut Street                                         Disputed
         White Pine, TN 37890-3709
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Countryside MHC, LLC                                       Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         County of Hoke                                             Contingent
         Attn: Daphne Graham-Dudley                                 Unliquidated
         PO Box 217                                                 Disputed
         Raeford, NC 28376-0217
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Cumberland County Tax Admin.                               Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         117 Dick Street, Room 530                                  Disputed
         Fayetteville, NC 28301-9604
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,808.61
         CWLP                                                       Contingent
         City Water, Light & Power                                  Unliquidated
         Municipal Center West                                      Disputed
         Springfield, IL 62757-0001
                                                                   Basis for the claim: Water and sewer
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Dogwood MHC, LLC                                           Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Eastview MHC, LLC                                          Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Edward A. Golden                                           Contingent
         Williams Overman Pierce, LLP                               Unliquidated
         2501 Atrium Drive, Suite 500                               Disputed
         Raleigh, NC 27607-6492
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Estate of James E. Blount, Jr.                             Contingent
         McIntyre Law Office, PLLC                                  Unliquidated
         PO Box 1                                                   Disputed
         Lumberton, NC 28359-0001
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Green Pines MHC, LLC                                       Contingent
         Attn: Manager, Office, Agent                               Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Greenstate Credit Union                                    Contingent
         Attn: Legal                                                Unliquidated
         PO Box 800                                                 Disputed
         North Liberty, IA 52317-0800
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         John C. Bircher, III,                                      Contingent
         John C. Bircher, III, Trustee                              Unliquidated
         209 Pollock Street                                         Disputed
         New Bern, NC 28560-4942
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Jonathan Morton                                            Contingent
         Huggins, Davis & Associates                                Unliquidated
         PO Box 1571                                                Disputed
         Lumberton, NC 28359
                                                                   Basis for the claim: Notice Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Joseph Zachary Frost                                       Contingent
         Buckmiller, Boyette & Frost, PLLC                          Unliquidated
         4700 Six Forks Road, Suite 150                             Disputed
         Raleigh, NC 27609-5288
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Josh Stein                                                 Contingent
         NC Attorney General                                        Unliquidated
         9001 Mail Service Center                                   Disputed
         Raleigh, NC 27699-9000
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Justin K. Humphries                                        Contingent
         The Humphries Law Firm, PC                                 Unliquidated
         1904 Eastwood Rd, Suite 310A                               Disputed
         Wilmington, NC 28403
                                                                   Basis for the claim: Notice Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Kenneth Love
         Karrenstein and Love, PLLC                                 Contingent
         10590 Independence Pointe Pkwy                             Unliquidated
         Suite 200                                                  Disputed
         Matthews, NC 28105
                                                                   Basis for the claim: Notice Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Kevin C. Baltz                                             Contingent
         Butler Snow, LLP                                           Unliquidated
         150 3rd Avenue South, Suite 1600                           Disputed
         Nashville, TN 37201
                                                                   Basis for the claim: Notice Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Laiken Estates MHC, LLC                                    Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Lisa P. Sumner                                             Contingent
         4141 Parklake Ave, Suite 200                               Unliquidated
         Raleigh, NC 27612-2333                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Littleton Storm & Timber Services, Inc.                    Contingent
         1615 Sugar Hollow Road                                     Unliquidated
         Jacksonville, IL 62650                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $30,613.00
         Metron Sustainable Services, Inc                           Contingent
         5665 Airport Blvd, Suite 105                               Unliquidated
         Boulder, CO 80301                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes



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3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Michael Leon Martinez                                      Contingent
         521 East Morehead Street                                   Unliquidated
         Suite 440                                                  Disputed
         Charlotte, NC 28202
                                                                   Basis for the claim: Notice Only - Receiver Counsel
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Morgan County Treasurer                                    Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         300 West State Street                                      Disputed
         Jacksonville, IL 62650-2063
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         NC Department of Revenue                                   Contingent
         Office Serv. Div, Bankruptcy Unit                          Unliquidated
         PO Box 1168                                                Disputed
         Raleigh, NC 27602-1168
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $112.00
         Pace Analytical Services, LLC                              Contingent
         PO Box 684056                                              Unliquidated
         Chicago, IL 60695-4056                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Water testing
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Park Lake Financial Solutions                              Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         108 Mactanly Place                                         Disputed
         Staunton, VA 24401-2373
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Patch Place MHC, LLC                                       Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         1030 N. Grand Ave West, East Blvd                          Disputed
         Springfield, IL 62702-4040
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Pine Log MHC, LLC                                          Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Pinewood MHC, LLC                                          Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Pleasant Hope MHC, LLC                                     Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $36,450.00
         Prairie State Inspections                                  Contingent
         25-68 Cottage Hill Ct.                                     Unliquidated
         Lanark, IL 61046                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Preston W. Rollero                                         Contingent
         Hedrick Gardner Kincheloe & Garofalo, LL                   Unliquidated
         4131 Parklake Ave, Suite 300                               Disputed
         Raleigh, NC 27612
                                                                   Basis for the claim: Notice Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Randy Paswater                                             Contingent
         Barber, Segatto, Hoffee, Wilke & Cate                      Unliquidated
         831 E. Monroe                                              Disputed
         Springfield, IL 62701
                                                                   Basis for the claim: Notice Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,560.00
         Rick Ray and Sons Plumbing                                 Contingent
         1514 W Jefferson St                                        Unliquidated
         Springfield, IL 62707                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Ridgefield MHC, LLC                                        Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 10 of 14
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Debtor      Grand Valley MHP, LLC                                                           Case number (if known)            24-03431
            Name

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Robeson County Tax Collector                               Contingent
         Attn: Andrea Oxendine                                      Unliquidated
         550 North Chestnut Street, FL 2nd                          Disputed
         Lumberton, NC 28358-5551
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Ross B. Hofherr                                            Contingent
         Harris Beach, PLLC Attorneys at Law                        Unliquidated
         100 Wall Street                                            Disputed
         New York, NY 10005
                                                                   Basis for the claim: Notice Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Royal Supply                                               Contingent
         835 N. Valley Dell Dr.                                     Unliquidated
         Fenton, MO 63026                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Sampson County Tax Collector                               Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         406 County Complex Rd                                      Disputed
         Clinton, NC 28328-4847
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $29,730.50
         Sangamon County Water                                      Contingent
         Reclamation District                                       Unliquidated
         2833 South Grand Ave. East                                 Disputed
         Springfield, IL 62703
                                                                   Basis for the claim: Water and sewer
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Schoolview MHC, LLC                                        Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Scottsdale MHP, LLC                                        Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         1030 N. Grand Ave West, East Bldg                          Disputed
         Springfield, IL 62702-4040
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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Debtor      Grand Valley MHP, LLC                                                           Case number (if known)            24-03431
            Name

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Secretary of Treasury                                      Contingent
         Attn: Managing Agent                                       Unliquidated
         1500 Pennsylvania Ave, NW                                  Disputed
         Washington, DC 20220-0001
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $378.25
         Style Crest, Inc.                                          Contingent
         PO Box 8673                                                Unliquidated
         Carol Stream, IL 60197-8673                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Home repairs and maintenance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Taylor's Bridge MHC, LLC                                   Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Time Out Communities, LLC                                  Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Time Out MHP, LLC                                          Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Top Park Maintenance                                       Contingent
         Attn: Manager, Officer, Agent                              Unliquidated
         401 E. 11th Street                                         Disputed
         Lumberton, NC 28358-4807
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         TOPPOS, LLC                                                Contingent
         401 E. Las Olas Blvd, Suite 130-161                        Unliquidated
         Fort Lauderdale, FL 33301                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 12 of 14
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Debtor       Grand Valley MHP, LLC                                                                  Case number (if known)            24-03431
             Name

3.66      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          TRIGILD IVL                                                       Contingent
          Attn: Ian Lagowitz, Agent                                         Unliquidated
          4131 N. Central Express Way                                       Disputed
          Dallas, TX 75204
                                                                           Basis for the claim: Notice Only - Receiver
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.67      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Victoria Estates MHC, LLC                                         Contingent
          Attn: Manager, Officer, Agent                                     Unliquidated
          401 E. Las Olas Blvd, Ste 130-161                                 Disputed
          Fort Lauderdale, FL 33301
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.68      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          West Estates MHC, LLC                                             Contingent
          Attn: Manager, Officer, Agent                                     Unliquidated
          401 E. 11th Street                                                Disputed
          Lumberton, NC 28358-4807
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.69      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          White Sands MHC, LLC                                              Contingent
          Attn: Manager, Officer, Agent                                     Unliquidated
          401 E. 11th Street                                                Disputed
          Lumberton, NC 28358-4807
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.70      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Wysteria Village MHC, LLC                                         Contingent
          401 East 11th St                                                  Unliquidated
          Lumberton, NC 28358-4807                                          Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Brown Investment Properties, Inc.
          1007 Battleground Ave, Suite 400                                                          Line     3.8
          Greensboro, NC 27408
                                                                                                          Not listed. Explain

4.2       CHC TN, LLC
          Attn: Manager, Officer, Agent                                                             Line     3.14
          3340 Lake View Drive
          Knoxville, TN 37919-6667                                                                        Not listed. Explain




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 13 of 14
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Debtor      Grand Valley MHP, LLC                                                       Case number (if known)           24-03431
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                       related creditor (if any) listed?              account number, if
                                                                                                                                      any
4.3       Internal Revenue Service
          Attn: Special Procedures                                                     Line      2.3
          P.O. Box 34045
          Stop 572                                                                           Not listed. Explain

          Jacksonville, FL 32202

4.4       Littleton Storm & Timber Services, Inc.
          Attn: Bradley B. Wilson, Esq.                                                Line      3.36
          Gates Wise Schlosser & Goebel
          1231 South Eighth Street                                                           Not listed. Explain

          Springfield, IL 62703

4.5       Sampson County Tax Collector
          Attn: Manager, Officer, Agent                                                Line      3.55
          200 South 9th Street
          Springfield, IL 62701-1608                                                         Not listed. Explain


4.6       Style Crest, Inc.
          2450 Enterprise, St                                                          Line      3.60
          Fremont, OH 43420-8553
                                                                                             Not listed. Explain

4.7       Style Crest, Inc.
          Attn: Manager, Officer, Agent                                                Line      3.60
          Raleigh, NC 27608-1370
                                                                                             Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                            Total of claim amounts
5a. Total claims from Part 1                                                               5a.          $                    144,047.66
5b. Total claims from Part 2                                                               5b.    +     $                    127,131.29
5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                    5c.          $                      271,178.95




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 14 of 14
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Fill in this information to identify the case:

Debtor name        Grand Valley MHP, LLC

United States Bankruptcy Court for the:      EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)      24-03431
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           [List available upon
             lease is for and the nature of       request for privacy
             the debtor's interest                purposes.]

                State the term remaining

             List the contract number of any                                        207 Tenant Leases
                   government contract


2.2.         State what the contract or           Trash Service
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    Republic Services
             List the contract number of any                                        PO Box 9001154
                   government contract                                              Louisville, KY 40290-1154




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Grand Valley MHP, LLC

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)   24-03431
                                                                                                                           Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Abbot Park MHC,             401 E. Las Olas Blvd, Ste 130-161                        21st Mortgage                   D       2.1
          LLC                         Fort Lauderdale, FL 33301                                Corporation                      E/F
                                                                                                                               G



   2.2    Alamac Village              401 E. Las Olas Blvd, Ste 130-161                        21st Mortgage                   D       2.1
          MHP, LLC                    Fort Lauderdale, FL 33301                                Corporation                      E/F
                                                                                                                               G



   2.3    Big C's MHP,                401 E. Las Olas Blvd, Ste 130-161                        21st Mortgage                   D       2.1
          LLC                         Fort Lauderdale, FL 33301                                Corporation                      E/F
                                                                                                                               G



   2.4    Brando                      401 E. Las Olas Blvd, Ste 130-161                        21st Mortgage                   D       2.1
          Management                  Fort Lauderdale, FL 33301                                Corporation                      E/F
          Services, LLC
                                                                                                                               G



   2.5    Brittany Court              401 E. Las Olas Blvd, Ste 130-161                        21st Mortgage                   D       2.1
          MHP, LLC                    Fort Lauderdale, FL 33301                                Corporation                      E/F
                                                                                                                               G



Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 4
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Debtor    Grand Valley MHP, LLC                                                   Case number (if known)   24-03431


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Bullock MHP,             401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          LLC                      Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.7     Cedarbrook               401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          Estates MHP,             Fort Lauderdale, FL 33301                           Corporation                     E/F
          LLC
                                                                                                                      G



  2.8     Central Park 2           401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          MHP, LLC                 Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.9     Central Park 3           401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          MHP, LLC                 Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.10    City View MHC,           401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          LLC                      Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.11    Eagle Wood               401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          MHP, LLC                 Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.12    Littlefield Valley       401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          MHP, LLC                 Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.13    Maple Creek              401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          MHP, LLC                 Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



Official Form 206H                                              Schedule H: Your Codebtors                                     Page 2 of 4
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Debtor    Grand Valley MHP, LLC                                                   Case number (if known)   24-03431


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.14    Matthew W. Ring          2805 East Oakland Park Blvd, Suite 438              21st Mortgage                  D      2.1
                                   Fort Lauderdale, FL 33306                           Corporation                     E/F
                                                                                                                      G



  2.15    Mediterranean            401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          Avenue, LLC              Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.16    MR Property              401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          Group, Ltd.              Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.17    Neil C. Bender, II       401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
                                   Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.18    Pine Run Park            401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          MHP, LLC                 Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.19    Prairie Knolls           401 E. Las Olas Blvd, Ste 130-1610                  21st Mortgage                  D      2.1
          MHP, LLC                 Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.20    Rolling Acres            FDBA Rolling Hills Mobile Estates MHC               21st Mortgage                  D      2.1
          MHC, LLC                 401 E. Las Olas Blvd, Ste 130-161                   Corporation                     E/F
                                   Fort Lauderdale, FL 33301
                                                                                                                      G




  2.21    Scottsdale MHP,          401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          LLC                      Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



Official Form 206H                                              Schedule H: Your Codebtors                                     Page 3 of 4
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Debtor    Grand Valley MHP, LLC                                                   Case number (if known)   24-03431


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.22    Taylor Park MHC,         401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          LLC                      Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.23    Time Out                 401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          Properties, LLC          Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.24    Waynesville              401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          Plantation MHP,          Fort Lauderdale, FL 33301                           Corporation                     E/F
          LLC
                                                                                                                      G



  2.25    West Park MHC,           401 E. Las Olas Blvd, Ste 130-161                   21st Mortgage                  D      2.1
          LLC                      Fort Lauderdale, FL 33301                           Corporation                     E/F
                                                                                                                      G



  2.26    Wysteria Village         401 East 11th St                                    21st Mortgage                  D      2.1
          MHC, LLC                 Lumberton, NC 28358-4807                            Corporation                     E/F
                                                                                                                      G




Official Form 206H                                              Schedule H: Your Codebtors                                     Page 4 of 4
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Fill in this information to identify the case:

Debtor name         Grand Valley MHP, LLC

United States Bankruptcy Court for the:    EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)    24-03431
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                              $1,874,106.08
      From 1/01/2024 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                              $2,157,351.17
      From 1/01/2023 to 12/31/2023
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                    Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                         Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                          Date action was               Amount
                                                                                                                        taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                                Nature of case               Court or agency's name and                 Status of case
             Case number                                                            address
      7.1.   John C. Bircher, III, Chapter 7           Bankruptcy                   US Bankruptcy Court                         Pending
             Trustee for TOPPOS, LLC v.                Adversary                    Eastern District of North                   On appeal
             Top Park Services, LLC, Time              Proceeding                   Carolina
                                                                                                                                Concluded
             Out Properties, LLC,                                                   Fayetteville Division
             Cedarbrook Estates MHP,                                                300 Fayetteville Street
             LLC, Grand Valley MHP, LLC,                                            Raleigh, NC 27601
             Maple Creek MHP, LLC,
             Prairie Knolls MHP, LLC, and
             Rolling Acres MHC, LLC
             24-00114

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None

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              Recipient's name and address             Description of the gifts or contributions                 Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and             Amount of payments received for the loss                  Dates of loss             Value of property
      how the loss occurred                                                                                                                             lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received               If not money, describe any property transferred              Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Shraiberg Page PA
               2385 NW Executive Center Dr
               Suite 300
               Boca Raton, FL 33431                       Attorney Fees                                                9/12/2024                 $30,000.00

               Email or website address
               bss@slp.law

               Who made the payment, if not debtor?
               Neil C. Bender, II



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



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      Does not apply
               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                   Last balance
               Address                                  account number             instrument                  closed, sold,                  before closing or
                                                                                                               moved, or                               transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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      None
      Facility name and address                             Names of anyone with                  Description of the contents                   Does debtor
                                                            access to it                                                                        still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Thompson and Price CPA                                                                                          2021 - Present
                    Alan Thompson and Chuck Dabney
                    1001 Winstead Drive, Ste 255
                    Cary, NC 27513

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Thompson and Price CPA
                    Alan Thompson and Chuck Dabney
                    1001 Winstead Drive, Ste 255
                    Cary, NC 27513

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                   Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Neil C. Bender, II                      401 E. Las Olas Blvd, Ste 130-161                   Manager                                   100%
                                              Fort Lauderdale, FL 33301



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      No
          Yes. Identify below.




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      Name                                   Address                                              Position and nature of any        Period during which
                                                                                                  interest                          position or interest
                                                                                                                                    was held
      Mark King                                                                                   COO & Chief Legal                 Resigned
                                                                                                  Counsel                           9/30/2024


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

          No
      Yes. Identify below.
             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         October 14, 2024

                                                                Neil Carmichael Bender, II
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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